             Case 1:17-cv-01585-KOB Document 1 Filed 09/15/17 Page 1 of 9                                                                              FILED
                                                                                                                                              2017 Sep-15 PM 02:56
                                                                                                                                              U.S. DISTRICT COURT
                                                                                                                                                  N.D. OF ALABAMA




                                               United States District Court 

                                                   for the 

                                                                                                                       • ~ '1
                                      NORTIIERN DISTRICT OF ALABAMA                                                    '"   i	                       I~


                                                                                      )
Plaintiff                                                                             I
(Write )'()ilr full name. .",10 more than one p/ainhjJ may be named Tn a pro se       J
complaint)                                                                            }

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~                                                                                     } Case No. ;~::-<-::;: .,-.,.--,,--,,;;-;-,.-;,-;;;--:­
                                                                                      )                   (to be m~t:J m by the Clerk's Office)

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                                                                                      }
                                                                                      )    JURY TRIAL                   Yes        0       No
                                                                                      I
                                                                                      )
                                                                                      )
                                                                                      I     1:11-cv-01585-VEH
Defendant(s)                                                                          I
                                                                                      )
(Write Ihe foIl name ofeach defendam who 13 being sued If the names ofall
defendonts cannot fil in the space above or on page ], pieaM wriJe ":see              }
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names)                                                                                I




                                                     COMPLAINT FOR A CIVIL CASE

I. 	        The Parties to This Complaint

           A. 	         The Plaintiff 

                        Name 

                        Street Address                            (0 ( thoRNTDN "SIT"
                        City and County
                        State and Zip Code
                       Telephone Number

           B. 	        The Defendant(s)

                       Provide the information below for each defendant named in the complaint,
                       whether the defendant is an individual, a government agency. an organization or a
                       corporation. If you are suing an individual in hislher official capacity, include the
                       person's job or title. Attach additional pages if needed.


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Defendant No. I
                            ~~tJ-orFic~
      Name                 ..Lr{\~O<.J.t-.:...Ll.o..lS~I9+-,N+~~OL-.!>.C~b.l.:'e=.!..lrv\ I   (:ttl C c>mf 11TIl ~
      Job or Title
      Street Address                                                         tB ow (euA:tf                           .)
      City and County         .~,",,----I.::.""""-'-'-'~~---I.~S=,\ ~"J                           b.OV{;S Cov   dv;
      State and Zip Code                                                             2, [6      7

Defendant No.2
      Name
      Job or Title
      Street Address
      City and County      ~~~~~~~~~Lll~i~h~'A~{.COd~LJ)

      State and Zip Code   _~~~J.LL.l,R-+-=E~~-5"cJ/_ _ _ '?,

Defendant No.3
      Name
      Job or Title
      Street Address                                            - _....._ - - - - ­
      City and County
      State and Zip Code




Defendant No.4
      Name
      Job or Title
      Street Address
      City and County
      State and Zip Code




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      Defendant NO.5
            Name
              Job or Title            ---~~~~                   .......-   -..   ~    - - - ....
                                                                                     ..            ~----




              Street Address
              City and County 

              State and Zip Code 


II.   Basis for .Jurisdiction

      Federal courts are courts of limited jurisdiction (limited power). Generally, only these
      types of cases can be heard in federal court: a dispute that involves a right in the United
      States Constitution or a federal law (as opposed to a state law or local ordinance); a
      dispute that involves the United States of America (or any of its agencies, officers or
      employees in their official capacities) as a party; and a dispute between citizens of
      different states with an amount in controversy that is more than $75,000.

      What is the basis for federal court jurisdiction? (check all that apply)

      o    Constitutional or Federal Question ~ USA Defendant ~ Diversity of citizenship

      Fill out the paragraphs in this section that apply to this case.

      A.      If the Basis for Jurisdiction is USA defendant

              The Dcfendant(s) 

              NameofAgency _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ 


              Address _____________________________________                                           ~




      B.      If the Basis for Jurisdietion is a Constitutional or Federal Question

              List the specific federal statutes, federal treaties, and/or provisions of the United
              States Constitution that are at issue in this case.




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       C.    If the Basis for Jurisdiction is Diversity of Citizenship

              I. The Plaintiff

                  Theplaintift; (name)   C/t(!.I..   7« 1f1ZF<ltJgf't>I-l , is           a citizen of the
                  State of (name)_    I\l £t ,d \j6 t¥.                       .
             2. The Oefendant(s)
                  a. If the defendant is an individual
                     The defendant, (name}_ _ _ _ _ _ _ _ __                      IS     a citizen of the
                     Smteof(nam~     ___________________ Or is a citizen of
                     (foreign nation) _ _ _ _ _ _ _ _ _ _ _ __

                  b. Ifthe defendant is a corporation

                                                      wO""-_____, is incorporated under
                     The defendant, (name)_r'll£nlS(iNt.
                     the laws ofthe Smte of (name) &=l.f\~\'\\14                           ,   and has its
                     principal place of business in the Smte of (name}J'lA-J:'S::l ~

                     Or     is   incorporated    under     the     laws     of         (foreign    nation)
                     _ _ _ _ _ _ _ _ _ _ _ _ _, and has its principal place of
                     business in (name) _ _ _ _ _ _ _ _ _ _ _.

                  (If more than one defendant is named in the complaint. attach an additional
                  page providing the same information for each additional defendant.)

             3.      The Amount in Controversy

                     The amount in controversy - the amount the plaintilT claims the defendant
                     owes or the amount that is at smte - is more than $75,000, not counting
                     interest and costs of court, because: (explain)

                     ~Lee.PL$--Z~,                     OM,       :Dw €.. :b,)Oe)eI'Ll?~I\£.e:.,r
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                     _Vekl\r{c~                  - - - - - ..      -~     ..- ..... - -...-    -..- - ­


III.   Statement of Claim


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      Write a short and plain statement of the claim. Briefly state the facts showing that the
      plaintiff is entitled to the damages or other relief sought. State how each defendant was
      involved and what each defendant did that caused the plaintiff harm or violated the
      plaintiff's rights, including the dates and places of that involvement or conduct. If more
      than one claim is asserted, number each claim and write a short and plain statement of
      each claim in a separate paragraph. Attach additional pages ifneedetl .

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[v.   Relief

      State briefly and precisely what damages or other relief the plaintiff asks for the court to
      order. Include any basis for claiming that the wrongs alleged are continuing at the present
      time. Include the amounts of any actual damages claimed for the acts alleged and the
      basis for these amounts. Include any punitive (punishment) or exemplary (warning or
      deterrent) damages claimed, the amounts, and the reasons you claim you are entitled to
      actual or punitive money damages.

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                                                                                                ...




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V.        Certification and Closing

          Under Rule 11 of the Federal Rules of Civil Procedure, by signing below, I certify to the
          best of my knowledge, information, and belief that this complaint; (I) is not being
          presented for an improper purpose, such as to harass, cause unnecessary delay, or
          needlessly increase the cost of litigation; (2) is supported by existing law or by a non­
          frivolous argument for extending, modifying or reversing existing law; (3) the factual
          contentions have evidentiary support or, if specifically so identified. will likely have
          evidentiary support after a reasonable opportunity for further investigation or discovery;
          and (4) complies with the requirements of Rule II.


I agree to provide the Clerk's Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk's
Office may result in dismissal of my case.



Mailing Address
         -A ((611 tJ L{ m m { J j (2 b Zip Code --f--;(J...=~=d«-;tk-­
City and State
TelephoneNumber~S1 £ - -'t¥=q -~[w.3-+(_ _                  _--­              . _ - - ......

E-mail AddresssFeCALfAl~Ao(.CoI11


Signature 0 f plaintiff_';::=-:'-J::f',+.fc,.,t;,A~~¢'"k::J.:c:~_ _ _ _ _ _ _ _ _ __

Date signed _ _++..l.-"~LJ;="~.--L___________________



**OPTIONAL**

You may request to receive electronic notifications. You may not file documents or
communicate with the court electronically. All documents must be submitted in paper and you
must serve the defendants.

Type of personal computer and related software/equipment required:

     •    Personal computer running a standard platform such as Windows or Mac OSX
     •    Internet access (high speed is recommended)
     •    A Web browser (Microsoft Internet Explorer 7.0 or 6.0 or Mozilla Firefox 2 or 1.5)
     •    Adobe Acrobat Reader is needed for viewing e-filed documents
     •	   PACER account - Information and registration at www.pacer.gov 


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     • You will receive one "free" look of the document. Documents must be viewed within 14
       days. You must only single-click on the hyperlink to view.
Note: You must promptly aotice tile Clerk's Oftiee, to writiag, if there is a dlange ill your
designated e-DUtiI address.. Failure to update your email address dues.!!!! _se failures to
appear or timely respond.
E-mail type:
                  o
                 HTML - Recommended for most e-mail clients
             !!iLPlain Text - Recommended for e-mail accounts unable to process HTML e-mail

Conditioned upon the sufficiency of your electronic equipment which the court will test and
verifY receipt, you will be allowed to receive electronic notifications.

By submitting this request, the undersigned consents to electronic service and waives the right to
personal service and service by first class mail pursuant to Rule 5(b)(2) of the Federal Rules of
Civil Procedure, except with regard to service of a summons and complaint.

When a filing is entered on the case docket, a party who is registered for electronic noticing will
receive a Notice of Electronic Filing in hislher designated e-mail account. lbe Notice will allow
one free look at the document, and any attached .pdf may be printed or saved.

IMPORTANT:

Messages sent to Yahoo or AOL accounts are frequently found in the spam folder until the court
is added to your address book.


E-mail address designated for noticing:



Participant si.!!lllltlll'e •...,~C:~£!3,,~...tl~~~f;;.r::=-______________

Date:_--f~:""';'fA.u..!.4-I-             _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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Pro-Se- Civil case: Carl R. Arrington                                                            1

Cause of Action/statement of Claim

In the article written by Dawn Allen, dated August 31, 2016, we find stated analysis of what took place
at Ft. McClellan Alabama. Article is at http:Uwww.legalreader.com/fort-rncclellar:Hoxic-scandal{. Ft
McClellan was recognized as an active duty military base from January 1, 1935 to May 20, 1999. "In
2003, Monsanto chemical (and its spinoff company) Salutia, settled a lawsuit out of court and agreed to
pay $700 million dollars to more than 20,000 residents of Anniston Alabama because of PCB
contamination." NY Times article ($700 million dollar law suit) by the Associated Press, August 21, 2003.

I am an US Army veteran, that was stationed at Ft. McClellan Alabama for several months. In May of
2017, I as the plaintiff became aware of the settlement case that the defendant (Monsanto Chemical
Company), concluded with lawyers that represented a large number of civilians in 2003, The toxic
chemicals of PCB's prompted the law suit against Monsanto Chemical company, It was also noted on the
record that Monsanto refused to acknowledge the strong possibility that soldiers who lived and drink
from the same water in the region of Anniston Alabama, should also be considered. We are talking
about the soldiers who got sick from drinking water contaminated with PCB's by Monsanto Chemical
Company. I have suffered greatly with cancer from the contamination of the water by Monsanto
Chemical, and this is my claim against them.

First Cause of Action

There is no history of cancer in my family. It is a known fact that many people don't get sick from
contaminated water until years later. While living in the Anniston area as a soldier I consumed much of
the contaminated water, and years later I was diagnosed with leukemia cancer. The injury by which I
am suffering is long lasting. My condition of Non-Hodgkin and leukemia cancers, warrant a relief from
the defendant.

Second Cause of Action

Negligence: The defendant failed to notify Ft. McClellan and the veterans that they had placed
contaminants in the drinking water. Some soldiers lived off base in Anniston, as well as on base.
Monsanto failed to exercise ordinary care for me and the population of Anniston and Ft. McClellan Ala.
Therefore I became one of the victims of the defendant in their reckless and inconsiderate action
toward my life and the lives of others. Defining PCB's.•A polychlorinated biphenyl (PCB) is an organic
chlorine compound with the formula C12H1(}-xClx. Polychlorinated biphenyls were once widely
deployed as dielectric and coolant flUids in electrical apparatus, carbonless copy paper and in heat
transfer fluids." Obviously the defendant should have known that the toxic chemicals would bring
irreparable harm to any human being if consume in drinking water.
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Relief                                                                                             2


The relief sought is clear, that some monetary amount be given to the me as the plaintiff in this case.
Why. because as stated in the statement of the claim, I drink the contaminated water of PCB's that was
placed in the water by Monsanto Chemical. Wherefore as the plaintiff, I seek a minimum of $5 million
dollars, due to years of pain and suffering as a result of drinking contaminated and toxic drinking water
from Anniston Alabama, contaminated by Monsanto Chemical Company.
